                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER


UNITED STATES OF AMERICA                     )         MATTICE/CARTER
                                             )
       v.                                    )         CASE NO. 4:15-CR-4
                                             )
LEONEL GARCIA                                )

                                           ORDER

       On July 14, 2015, Magistrate Judge William B. Mitchell Carter filed a Report and

Recommendation recommending (a) the Court accept Defendant=s plea of guilty to Counts One

and Two of the Indictment; (b) the Court adjudicate Defendant guilty of the charges set forth in

Counts One and Two of the Indictment; and (c) Defendant shall remain in custody pending

sentencing in this matter (Doc. 49). Neither party filed an objection within the given fourteen

days. After reviewing the record, the Court agrees with the magistrate judge=s report and

recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge=s

report and recommendation pursuant to 28 U.S.C. ' 636(b)(1) and ORDERS as follows:

       (1) Defendant=s plea of guilty to Counts One and Two of the Indictment is ACCEPTED;

       (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Counts One and

Two of the Indictment; and

       (3) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Monday,

November 30, 2015, at 2:00 pm.

       SO ORDERED.

       ENTER:

                                                          /s/ Harry S. Mattice, Jr._______
                                                         HARRY S. MATTICE, JR.
                                                    UNITED STATES DISTRICT JUDGE



Case 4:15-cr-00004-TRM-CHS          Document 55        Filed 08/04/15     Page 1 of 1       PageID
                                          #: 350
